                    Exhibit 14
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE

  B.P., H.A., and S.H., individually, and     )
  on behalf of all others similarly situated, )
                                              )
         Plaintiffs,                          )
                                              )
  vs.                                         )   No.   2:23-cv-71
                                              )
  CITY OF JOHNSON CITY, TENNESSEE, )              Judge McDonough
  a governmental entity,                      )
                                              )   Magistrate Judge McCook
  KARL TURNER, individually and in his )
  official capacity as Chief of the Johnson )     JURY TRIAL DEMAND
  City Police Department,                     )
                                              )
  KEVIN PETERS, individually and in his )
  official capacity as Captain of the         )
  Johnson City Police Department,             )
                                              )
  TOMA SPARKS, individually and in his )
  official capacity as Investigator of the    )
  Johnson City Police Department,             )
                                              )
  JUSTIN JENKINS, individually and in his)
  official capacity as Investigator of the    )
  Johnson City Police Department,             )
                                              )
  JEFF LEGAULT, individually and in his )
  official capacity as Investigator of the    )
  Johnson City Police Department,             )
                                              )
  BRADY HIGGINS, individually and in his )
  official capacity as Investigator of the    )
  Johnson City Police Department, and         )
                                              )
  DOES 8-20, inclusive,                       )
                                              )
         Defendants.                          )


    INVESTIGATOR TOMA SPARKS’ RESPONSES TO PLAINTIFFS’ SECOND
             SET OF INTERROGATORIES AND REQUEST FOR
                     PRODUCTION OF DOCUMENTS




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         Defendant Toma Sparks, by and through counsel, responds to Plaintiffs’ Second
  Set of Interrogatories and Request for Production of Documents in accordance with Rules
  26, 33, and 34 of the Federal Rules of Civil Procedure.
                                        CONFIDENTIALITY
         These responses and all documents, as well as electronically stored information
  produced in response, are designated as confidential information, unless otherwise
  noted, in accordance with the Joint Protective Order entered in this matter.


                                    INTERROGATORIES

         1.     Identify all ASSETS valued over $10,000 bought or sold by YOU since

  January 1, 2018, including the date of the purchase or sale and the amount paid in

  consideration.

         RESPONSE: Objection. This request is not reasonably calculated to lead to the

  discovery of relevant information. This request is also overly broad in that it is not limited

  in temporal scope to the extent it elicits information about assets sold after 2018 but that

  were purchased before 2018. Without waiving said objection, and to the best of his

  recollection, Defendant Sparks bought and sold the following items:

         •      2018-Sold a Toyota Tundra for approximately $15,000

         •      Approximately 2020-Bought a 2017 Jeep Wrangler-note is with



         2.     Identify all title(s) YOU hold to property valued over $10,000.

         RESPONSE: Objection. This request is not reasonably calculated to lead to the

  discovery of relevant information. This request is also overly broad in that it is not limited

  in temporal scope to the extent it elicits information about assets that were purchased

  prior to 2018. Without waiving said objection, and to the best of his recollection,

  Defendant Sparks identifies the following property:

                                                2

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        •      House at


        •      2013 Toyota Highlander

        •      2017 Jeep Wrangler-note with

        •      2018 Rav 4- co-signor on daughter’s car-note with


        3.     Identify all YOUR sources of income since January 1, 2018, including the

  annual amount of each source as reported on tax returns.

        RESPONSE: Objection. This request is not reasonably calculated to lead to the

  discovery of relevant information and is overly broad and unduly burdensome. Without

  waiving said objection, Defendant Sparks identifies the following sources of employment

  income from his wife and himself.



        T. Sparks-City of Johnson City

        2018 $41,040.09

        2019 $44, 581,.08

        2020 $45,993.36

        2021 $47,898.95

        2022 $55,878.23

        2023 $60,323.04



        4.     Identify all accounting firms used to prepare YOUR tax returns since

  January 1, 2018, including the name and address of each firm.

        RESPONSE: None




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         5.        Identify all financial institutions where YOU have maintained accounts

  since January 1, 2018, including the name and address of each institution.

         RESPONSE: Objection. This request is not reasonably calculated to lead to the

  discovery of relevant information. Without waiving said objection, Defendant Sparks

  identifies the following:

         •

         •


         6.        Identify all investigations relating to SEAN WILLIAMS in which YOU

  participated, including the nature of the investigation, YOUR role in the investigation, all

  persons YOU interviewed, all search warrants YOU executed, the date or dates YOU

  worked on the investigation, and the name of the victim (or Jane Doe/Female identifier)

  if applicable.

         RESPONSE: Defendant Sparks was involved in the following investigations

  related to Sean Williams:

         1.          fall from window in Sean Williams’ apartment—I was asked to come out
              to the scene since I was one of the on-call investigators that day. For further
              explanation and in response to the other requested information, see the case
              notes relating to the     investigation that have been previously produced by
              the City.

              The following search warrants were obtained as part of the     investigation.
              These search warrants have been produced by the City in discovery.

                   •   Search warrant dated September 19, 2020, for the search of the
                       apartment of Sean Williams;

                   •   Search warrant dated, October 14, 2020, for the search of any and all
                       information for the Arlo account of Sean Williams; and

                   •   Search warrant dated, September 23, 2020, for the search of a Liberty
                       Safe belonging to Sean Williams;



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         2.           Sexual Assault Investigation—On November 24, 2020, I was asked to
              come to the FBI office to assist      , who was reporting a sexual assault by Sean
              Williams. I spoke with        at the FBI office, and then     went to the hospital
              where a sexual assault examination and kit was performed.                   gave a
              statement to JCPD Officer Vanessa McKinney at the hospital about the rape.
              SAUSA Kat Dahl was involved in the investigation of this sexual assault. The
              blood and specimens from the hospital were sent to the TBI. Toxicology screen
              received from TBI in March of 2021, and the official forensic biology report was
              received from the TBI in July of 2021. The DA’s office declined to prosecute.
              For further explanation and in response to the other requested information, see
              the case notes relating to the           investigation that have been previously
              produced by the City.

         3. B.P. Sexual Assault Investigation-I did not handle the initial call or
            investigation regarding B.P., which was reported in November of 2019. I was
            asked in March of 2021 to contact B.P. about the results of her rape kit. B.P.
            said that she wanted to prosecute the case. I asked her to obtain the medical
            paperwork from the urgent care facility where she claimed to have had blood
            work done and come to headquarters to give a written statement. B.P. never
            came in to give a statement. For further explanation and in response to the
            other requested information, see the case notes relating to the B.P.
            investigation that have been produced by the City.

              The following search warrants were obtained as part of the B.P investigation.
              These search warrants have been produced by the City.

                  •   Search Warrant dated, June 1, 2023, for the examination and
                      photographing of the body of Sean Williams, including his genitalia and
                      tattoos; and

                  •   Search warrant dated, June 1, 2023, for the DNA of Sean Williams.

         4.         Investigation-My involvement with the           investigation occurred on
              December 15, 2020, when SAUSA Dahl asked me to write up a statement for
                    based upon        interview with SAUSA Dahl during which I was present.
              For further explanation and in response to the other requested information, see
              the case notes relating to the     investigation that have been produced by the
              City.

         5.        Investigation-My involvement in the        investigation was that I
              accompanied Defendant Higgins once when he was trying to find her.


         6.      For all investigations identified in interrogatory number 6, identify YOUR

  supervisor at the time of the investigation.



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         RESPONSE: Sgt. David Hilton was Defendant Sparks’ immediate supervisor

  for all investigations. To the best of his recollection, Sgt. Gary Wills may have been his

  supervisor at the time of the June 2023 search warrants.




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                                DOCUMENT REQUESTS

        1.     All COMMUNICATIONS with Cathy Ball from January 1, 2018, to the

  present.

        RESPONSE: Defendant Sparks objects to this request to the extent it is

  overly broad, unduly burdensome, and seeks information that is not reasonably

  calculated to lead to the discovery of relevant evidence. Without waiving said objections,

  to the best of his recollection, Defendant Sparks may have had texts or emails with Cathy

  Ball on his work cell phone, which Defendant Sparks believes has been searched by the

  City using search terms provided by Plaintiffs. In addition, Ms. Ball has reached out to

  Defendant Sparks on his personal cell phone to provide support and encouragement. See

  Toma Sparks # 0004-5 and 0042-43.



        2.      All COMMUNICATIONS with Steven Finney from January 1, 2018, to the

  present.

        RESPONSE: Defendant Sparks objects to this request to the extent it is

  overly broad, unduly burdensome, and seeks information that is not reasonably

  calculated to lead to the discovery of relevant evidence. Without waiving said objections,

  to the best of his recollection, Defendant Sparks does not recall any communications with

  DA Finney during this time frame.



        3.     All COMMUNICATIONS with Scott Jenkins REGARDING SEAN

  WILLIAMS from January 1, 2018, to the present.

        RESPONSE: Defendant Sparks objects to this request to the extent it is overly

  broad, unduly burdensome, and seeks information that is not reasonably calculated to


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   lead to the discovery of relevant evidence.    Without waiving said objections, most

   communications responsive to this request would be contained on Defendant Sparks’

   work cell phone, which Defendant Sparks believes has been searched by the City using

   search terms provided by Plaintiffs. Those communications contained in Defendant

   Sparks’s personal phone are provided. See Toma Sparks 0005 and 0041.




         4.     All COMMUNICATIONS with Scott Jenkins REGARDING Kateri Dahl from

   January 1, 2018, to the present.

         RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to

   lead to the discovery of relevant evidence.     Without waiving said objections, any

   communications responsive to this request would be contained on Defendant Sparks’

   work cell phone which Defendant Sparks believes has been searched by the City using

   search terms provided by Plaintiffs.



         5.     All COMMUNICATIONS with Scott Jenkins REGARDING this litigation

   from January 1, 2018, to the present.

         RESPONSE: Defendant Sparks objects to this request to the extent it is

   overly broad, unduly burdensome, and seeks information that is not reasonably

   calculated to lead to the discovery of relevant evidence. Further, this request is

   ambiguous to the extent it appears to seek information “regarding this litigation”

   years before the case was even filed.     Without waiving said objections, any

   communications responsive to this request would be contained on Defendant

   Sparks’ work cell phone, which Defendant Sparks believes has been searched by the


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   City using search terms provided by Plaintiffs.

          6.     All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING

   SEAN WILLIAMS from January 1, 2018, to the present.

          RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to

   lead to the discovery of relevant evidence. Without waiving said objections, Defendant

   Sparks does not recall any communications with Sunny Sandos regarding Sean

   Williams.



          7.     All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING

   Kateri Dahl from January 1, 2018, to the present.

          RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to

   lead to the discovery of relevant evidence. Without waiving said objections, Defendant

   Sparks does not recall any communications with Sunny Sandos regarding Kateri Dahl.



          8.     All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING

   this litigation from January 1, 2018, to the present.

          RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to

   lead to the discovery of relevant evidence. Further, this request is ambiguous to the

   extent it appears to seek information “regarding this litigation” years before the case

   was even filed. Without waiving said objections, Defendant Sparks does not recall any

   communications with Sunny Sandos regarding this litigation.


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         9.        All non-privileged COMMUNICATIONS with Erik Herrin.

         RESPONSE: Defendant Sparks objects to this request to the extent it is overly

  broad, unduly burdensome, and seeks information that is not reasonably calculated to

  lead to the discovery of relevant evidence. Further, the request is neither limited in

  scope or time.



         10.       All bank statements from January 1, 2018, to the present.

         RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to

   lead to the discovery of relevant evidence. The parties participated in a meet and confer

   regarding this request on April 22, 2024. This request will be supplemented if necessary.


         11.       All records of phone calls and text or SMS messages for the following dates:

                   •     September 19, 2020 and the following 5 days

                   •     May 6, 2021 and the following 5 days

                   •     April 29, 2023 and the following 5 days

                   •     October 17, 2023 and the following 5 days

                   •     November 20, 2023 and the following 5 days

                   •     December 7, 2023 and the following 5 days

         RESPONSE: Defendant Sparks objects to this request to the extent it seeks

   information that is not reasonably calculated to lead to the discovery of admissible

   evidence. Defendant Sparks further objects to the extent this request seeks privileged

   communications. All privileged communications have been redacted with a


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   corresponding entry in the accompanying privilege log. Without waiving said

   objections, counsel for Defendant Sparks has subpoenaed phone records that are

   believed to contain at least some of the records requested and will provide this

   information in accordance with the partial agreement regarding these records

   between counsel for Sparks and Plaintiffs' counsel. See Toma Sparks #0006-40 for

   available text messages during the requested time frames. The data from Defendant

   Sparks’s personal cell phone was extracted on December 1, 2023. Meaning that the

   vendor who extracted the phone’s data was unable to search for any messages created

   after that date. Unfortunately, IPhone does not provide a method to search or sort SMS

   messages by date. Defendant Sparks has supplemented the report to the best of his

   ability by searching text message conversations with individuals who are relevant to

   this case for messages sent on December 7, 2023, and the following five days and

   supplying screenshots of text message conversations during the operative timeframe.

   The only responsive messages found were between Defendant Sparks and Cathy Ball.

         Additionally, there may be communications responsive to this request made on

   Defendant Spark’s work cell phone, which Defendant Sparks believes has been

   searched by the City using search terms provided by Plaintiffs.



         12.    All records of phone calls and text or SMS messages exchanged with the

   following individuals:

                 •
                 •     SEAN WILLIAMS
                 •     Cathy Ball
                 •     Steve Finney
                 •
                 •     Bart Mikitowicz


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          RESPONSE: Defendant Sparks objects to this request to the extent it is overly

   broad, unduly burdensome, and seeks information that is not reasonably calculated to lead to

   the discovery of relevant evidence and further it is not limited in time or scope. Without

   waiving said objections, there are no communications with                      , Williams,

   Finney,         or Mikitowicz. As to Cathy Ball, see Defendant Sparks’ response to

   RFPD No. 1.




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                                      Respectfully submitted,



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                                      capacity




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                               CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on this the 25th day of April, 2024, a true and
  correct copy of the foregoing has been forwarded via Email and/ or US Mail:

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   Turner, in his individual                  Peters, in his official capacity, Investigator Toma
   capacity                                   Sparks, in his official capacity and Justin Jenkins
                                              in his official capacity.


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